Case 3:19-bk-30822         Doc 189    Filed 06/12/20 Entered 06/12/20 16:11:15          Desc Main
                                     Document      Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

 In re: Tagnetics, Inc.                       *      Case No. 19-30822
                                              *
                                              *      Judge Humphrey
                                              *      Chapter 7


                          TAGNETICS, INC.’S LIST OF OFFICERS AND
                           MEMBERS OF ITS BOARD OF DIRECTORS


        Tagnetics, Inc. (“Tagnetics”), by and through its undersigned counsel and pursuant to the

 Court’s Order dated May 27, 2020 [Doc. #182], hereby identifies its officers and directors.

                                             Officers

        1.      John White – CEO

        2.      Louis Fernandez – CFO

                                        Board of Directors

        1.      John White – Chairman & CEO

        2.      Donald Sackman

        3.      Vincent Browning

        4.      Larry McWilliams

        5.      Robert Tobin

        6.      August Klein

        7.      Edwin Quinn
Case 3:19-bk-30822      Doc 189    Filed 06/12/20 Entered 06/12/20 16:11:15   Desc Main
                                  Document      Page 2 of 3




 Dated: June 12, 2020                     Respectfully submitted,

                                                 /s/ Stephen B. Stern
                                          Stephen B. Stern, Admitted Pro Hac Vice
                                          KAGAN STERN MARINELLO & BEARD, LLC
                                          238 West Street
                                          Annapolis, MD 21401
                                          (410) 216-7900 – Telephone
                                          (410) 705-0836 - Facsimile
                                          stern@kaganstern.com (email)

                                          Counsel for Alleged Debtor
                                          Tagnetics, Inc.




                                             2
Case 3:19-bk-30822       Doc 189     Filed 06/12/20 Entered 06/12/20 16:11:15            Desc Main
                                    Document      Page 3 of 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2020, a copy of the foregoing List of Officers and Members
 of Tagnetics’ Board of Directors was served (i) electronically on the date of filing through the
 Court’ s ECF System on all ECF participants registered in this case at the email address registered
 with the court and (ii) electronically by email to Kenneth W. Kayser. (drkwkayser@gmail.com),
 Ronald E. Early (ronald.earley1@gmail.com) and Jonathan Hager (pufferboater@gmail.com), and
 (iii) by First Class U.S. Mail on June 12, 2020 to Kenneth Kayser and MaryAnne Wilsbacher at
 the addresses below, and (iv) FedEx to Ronald Earley and Jonathan Hager at the addresses below:

 Kenneth W. Kayser
 PO Box 115
 Catawba, VA 24070

 Ronald E. Early
 6429 Winding Tree Drive
 New Carlisle, OH 45344

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153

 MaryAnne Wilsbacher
 Office of the United States Trustee
 170 North High Street
 Suite 200
 Columbus, Ohio 43215


                                                             /s/ Stephen B. Stern
                                                             Stephen B. Stern




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